        Case 3:18-cr-00115-JAM Document 102 Filed 08/13/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                 :                    NO. 3:18CR115 (JAM)

      vs.                                :

MICHAEL WORTHINGTON                      :                    AUGUST 13, 2019

            PROPOSED SCHEDULING ORDER FOR SENTENCING AND
                 REQUEST FOR LEAVE TO FILE OUT OF TIME

      Michael Worthington, through undersigned counsel, respectfully files this

proposed sentencing scheduling order, and also requests leave to file this pleading out

of time. The pleading was due on August 9, 2019, but due to personal and professional

commitments over the past several days, counsel did not file it by that date.

Undersigned counsel has not yet had an opportunity to review the PSR with Mr.

Worthington and file any necessary suggested changes or objections, and has also

provided the Probation Office with materials not presently included in the PSR. U.S.

Probation Officer Lauren Harte has indicated she will be filing an Addendum to the

PSR, and the below proposed scheduling order includes a date for the filing of that

Addendum. Counsel has discussed this proposed schedule with both Mr. Worthington

and government counsel, Douglas Morabito, and the proposal is based in part upon Mr.

Worthington’s desire to address a number of important issues before sentencing

occurs. Based upon those discussions, the following dates are proposed:

      (1) September 17, 2019      -      Submission of Objections to Probation;

      (2) October 11, 2019        -      Filing of Addendum to PSR;

      (3) January 3, 2020         -      Defense Sentencing Memo Due;
        Case 3:18-cr-00115-JAM Document 102 Filed 08/13/19 Page 2 of 2



       (4) January 10, 2020        -       Government Sentencing Memo Due; and

       (5) January 17, 2020        -       Sentencing

                                           THE DEFENDANT,
                                           MICHAEL WORTHINGTON


                                            /s/ Richard A. Reeve
August 13, 2019                            Richard A. Reeve
                                           Sheehan & Reeve
                                           350 Orange Street, Suite 101
                                           New Haven, CT 06510
                                           (203) 787-9026 (phone)
                                           (203) 787-9031 (fax)
                                           rreeve@sheehanandreeve.com
                                           Federal Bar No. ct05084


                               CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2019, a copy of the foregoing was
electronically filed and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court's
electronic filing system or my mail to anyone unable to accept electronic filing.


                                                   /s/ Richard A. Reeve
                                                   Richard A. Reeve




                                             -2-
